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UNITED STATES DISTRICT COURT                            SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §             CRIMINAL ACTION H-19-341
                                                 §
JOSE M GONZALEZ-TESTINO on bond                  §

                                              Order

        The sentencing of the defendant is reset as follows:

        1.     The presentence investigation report will be available to the defendant by
               July 16, 2021.

        2.     Counsel must object in writing to the facts used and application of the
               guidelines or a statement that there is no objection by July 30, 2021.

        3.     The probation officer must submit to the Judge the final presentence reports
               with an addendum addressing contested issues by August 13, 2021.

        4.     All motions, sentencing memorandums and letters of support shall be
               filed no later than NOON the Monday prior to sentencing to be
               considered.

        5.     The sentencing will be held on August 19, 2021 at 10:00 a.m.


        Signed at Houston, Texas on January 14, 2021.




                                                             Gray H. Miller
                                                     Senior United States District Judge
